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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,
                  Plaintiff,                          :           Case No. 3:06-cr-177
                                                                  Also Civil Case No. 3:09-cv-217
                                                                  District Judge Thomas M. Rose
         -vs-                                                     Magistrate Judge Michael R. Merz
                                                      :
CHRISTOPHER TODD ROSE,
                  Defendant.

                           ORDER DISMISSING REMAINING CLAIMS

         This case is before the Court on Defendant’s Motion to Vacate, Set Aside, or Correct a
Sentence, pursuant to 28 U.S.C. §2255 (Doc. No. 451). The case came on for evidentiary hearing
on Petitioner’s remaining claim or claims of ineffective assistance of trial counsel. Present in court
with counsel, Defendant withdrew all remaining claims with prejudice and consented, through
counsel and under 28 U.S.C. § 636(c)1, to entry of judgment on those claims by the Magistrate
Judge. The Court advised Defendant that withdrawal with prejudice meant that these claims could
not be re-filed in any forum. Upon inquiry, the Court determined that Defendant made the decision
to withdraw the remaining claims knowingly, intelligently, and voluntarily.
         Accordingly, all remaining claims in defendant’s § 2255 Motion not yet adjudicated by the
Court are dismissed with prejudice. The Clerk will enter final judgment in this matter.
February 25, 2010.
                                                                      s/ Michael R. Merz
                                                                    United States Magistrate Judge




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           The General Order of Assignment and Reference for the Dayton location of court allows the Magistrate
Judge to exercise jurisdiction under 28 U.S.C. § 636(c) in cases otherwise referred upon unanimous consent of the
parties which in this instance was oral and on the record in open court.
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